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AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                   for the

                                                           District of&ROXPELD

                  United States of America
                             v.                                      )
                                                                     )        Case No.
                        Jesus Rivera                                 )
 (AKA: JD Rivera, Jesus Delamora Rivera)                             )
                                                                     )
                                                                     )
                            Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                              Jesus Rivera                                                  ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment          u Information        u Superseding Information              ;
                                                                                                                        u Complaint
u Probation Violation Petition               u Supervised Release Violation Petition        u Violation Notice          u Order of the Court

This offense is briefly described as follows:

18 USC § 1752(a)(1) Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority
18 USC § 1752(a)(2) Knowingly, With Intent to Impede Government Business or Official Functions, Engaging in
Disorderly Conduct on Capitol Grounds
40 USC § 5104(e)(2)(D) Engaging in Disorderly or Disruptive Conduct on Capitol Buildings or Grounds
40 USC § 5104(e)(2)(G) Parading, Demonstrating, or Picketing in the Capitol Buildings
                                                                                                             2021.01.19
Date:          01/19/2021                                                                                    13:11:51 -05'00'
                                                                                             Issuing officer’s signature

City and state:                      :DVKLQJWRQ'&                             _Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                                    _
                                                                                               Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                            Arresting officer’s signature



                                                                                               Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                          (Not for Public Disclosure)

Name of defendant/offender: Jesus Rivera
Known aliases:            JD Rivera, Jesus Delamora Rivera
Last known residence:                 5110 W. Farfield Dr, Pensacola, FL 32506

Prior addresses to which defendant/offender may still have ties:            819 Lucerne Ave, Pensacola, FL 32505


Last known employment:                  819 Lucerne Ave, Pensacola, FL 32505

Last known telephone numbers:
Place of birth:           California

Date of birth:            1/11/1984
Social Security number:                546794082

Height:           5'7''                                                   Weight:
Sex:      Male                                                            Race:
Hair:     Brown                                                           Eyes:       Brown

Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):
Jessecah B. Rivera, Spouse, 5110 W. Fairfield Drive, Pensacola, FL 32506 Phone: 504-417-2112

FBI number:
Complete description of auto:                 2020 Volkswagon Tiguan S, Blue 2013 Nissan NV van, Gray 2014 Jeep Compass SUV



Investigative agency                         Federal Bureau of Investigation

,QYHVWLJDWLYHDJHQF\DGGUHVV      Washington Field Office
Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):




Date of last contact with pretrial services or probation officer (if applicable):
